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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  CURTIS LEE BALL

              Petitioner

  v.                                   //         CIVIL ACTION NO. 1:06CV183
                                               CRIMINAL ACTION NO. 1:05CR43
                                                        (Judge Keeley)

  UNITED STATES OF AMERICA,

              Respondent.


                 ORDER ADOPTING REPORT AND RECOMMENDATION

        On December 29, 2006, pro se petitioner, Curtis Lee Ball,

  (“Ball”) filed a petition for writ of habeas corpus pursuant to 28

  U.S.C. § 2255. The Court referred this matter to United States

  Magistrate Judge John S. Kaull for initial screening and a Report

  and   Recommendation     (“R&R”)    in    accordance   with   Local    Rule   of

  Prisoner Litigation 83.09.

        On June 18, 2008, Magistrate Judge Kaull issued an R&R

  recommending that this Court deny and dismiss Ball’s petition with

  prejudice. The R&R also specifically warned that failure to object

  to it would result in the waiver of any appellate rights on this

  issue.    Nevertheless, Ball failed to file any objections.1

        Consequently, the Court ADOPTS the Report and Recommendation

  in its entirety (civil dkt. no. 8; criminal dkt. no. 454), DENIES


        1
          Ball's failure to object to the Report and Recommendation not only waives
  his appellate rights in this matter, but also relieves the Court of any
  obligation to conduct a de novo review of the issue presented. See Thomas v.
  Arn, 474 U.S. 140, 148-153 (1985); Wells v. Shriners Hosp., 109 F.3d 198, 199-200
  (4th Cir. 1997).
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  BALL V. USA                                  CIVIL ACTION NO. 1:06CV183
                                            CRIMINAL ACTION NO. 1:05CR43

                ORDER ADOPTING REPORT AND RECOMMENDATION

  the Petition for Writ of Habeas Corpus (civil dkt. no. 1; criminal

  dkt. no. 323), and DISMISSES this case WITH PREJUDICE.            The Clerk

  is ordered to STRIKE this case from the Court’s docket.

       The Clerk is directed to mail a copy of this Order to the pro

  se petitioner, certified mail, return receipt requested, and to

  transmit copies of this Order to counsel of record.

  Dated: July 25, 2008.



                                           /s/ Irene M. Keeley
                                           IRENE M. KEELEY
                                           UNITED STATES DISTRICT JUDGE




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